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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 2:17-cr-14047-DMM

  UNITED STATES OF AMERICA,

         v.

  SCOTT JOSEPH TRADER.
  _______________________________/

                  GOVERNMENT’S NOTICE REGARDING RESTITUTION

         The United States of America respectfully requests that this Court cancel the restitution

  hearing set for March 1, 2018 at 10:00 a.m. The government has consulted with the victims and

  is not seeking restitution in this case. The undersigned has consulted with the Defendant=s attorney

  of record, and he has no objection to cancelling the hearing.

         Accordingly, it is respectfully requested that the Court cancel the restitution hearing as no

  restitution is being sought.


                                                Respectfully submitted,

                                                BENJAMIN G. GREENBERG
                                                UNITED STATES ATTORNEY

                                          By: /s/ Marton Gyires
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                                  CERTIFICATE OF SERVICE

         I hereby certify that I electronically filed the foregoing document with the Clerk of the

  Court using CM/ECF, which will transmit notification to all parties of record.


                                               BENJAMIN G. GREENBERG
                                               UNITED STATES ATTORNEY

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